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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                                    :
Jenita Williams,                                    :
                                                      Civil Action No.: 6:18-cv-00247
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
Edward Sloan and Associates, Inc.,                  :
                                                      COMPLAINT
                                                    :
                                                      JURY
                        Defendant.                  :
                                                    :
                                                    :

        For this Complaint, Plaintiff, Jenita Williams, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), and the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Jenita Williams (“Plaintiff”), is an adult individual residing in

Longview, Texas, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3) and is a

“person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Edward Sloan and Associates, Inc. (“Sloan”), is a Texas business

entity with an address of 368 Private Road 8565, Winnsboro, Texas 75494-8038, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6) and is

a “person” as defined by 47 U.S.C. § 153(39).
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                      ALLEGATIONS APPLICABLE TO ALL COUNTS

A.      The Debt

        5.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

        6.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §

1692a(5).

        7.      The Debt was purchased, assigned or transferred to Sloan for collection, or Sloan

was employed by the Creditor to collect the Debt.

        8.      Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B.      Sloan Engages in Harassment and Abusive Tactics

        9.      Within the last year, Sloan began calling Plaintiff’s cellular telephone, number

903-xxx-0399, in an attempt to collect the Debt.

        10.     At all times mentioned herein, Sloan called Plaintiff using an automatic telephone

dialing system (“ATDS”) and/or using an artificial or prerecorded voice.

        11.     On or about May 12, 2017, Plaintiff paid the Debt. However, Sloan continued to

call Plaintiff in an attempt to collect the Debt.

        12.     When Plaintiff answered calls from Sloan, she heard a prerecorded message.

        13.     On or about October 25, 2017, Plaintiff sent an email to Sloan and advised that

the Debt had already been paid.

        14.     Thereafter, the calls continued.

        15.     On November 3, 2017, Plaintiff mailed a cease and desist letter to Sloan.



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       16.     Nevertheless, Sloan continued to place automated calls to Plaintiff’s cellular

telephone number in an attempt to collect the Debt.

C.     Plaintiff Suffered Actual Damages

       17.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendant’s unlawful conduct.

       18.     As a direct consequence of Defendant’s acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

                                   COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       19.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       20.     Defendant’s conduct violated 15 U.S.C. § 1692c(c) in that Defendant contacted

Plaintiff after having received written notification from Plaintiff to cease communication.

       21.     Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with collection of the Debt.

       22.     Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent to

annoy and harass Plaintiff.

       23.     Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used unfair and

unconscionable means to collect the Debt.

       24.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the FDCPA.


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         25.   Plaintiff is entitled to damages as a result of Defendant’s violations.

                                   COUNT II
                  VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.

         26.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

         27.   At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

         28.   Defendant continued to place automated calls to Plaintiff’s cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

         29.   The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         30.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

         31.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         32.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

         33.   Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00

pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                    PRAYER FOR RELIEF

               WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);


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                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3);

                 4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                 5. Punitive damages; and

                 6. Such other and further relief as may be just and proper.

                        TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: June 4, 2018
                                            Respectfully submitted,

                                            By /s/ Jenny DeFrancisco

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